Case 2:04-cr-20424-.]PI\/| Document 86 Filed 08/30/05 Page 1 of 3 Page|D 118

 

 

IN THE UNITED sTATEs DISTRICT COURT Fn£n ev Dc
FoR THE WESTERN DISTRICT or TENNESSEE ‘ '
WESTERN DIVISION 95 AUG 30 PH tr l |
CLERK U§ earniwa
UNITED srArEs OF AMERICA ) WfD C§ _ wing
)
Plaintiff, )
)
VS ) CASE NO. 2;04CR20424-M1
)
LATONYA sTEPHENs )
)
Defendant. )
)
0RDER To sURRENnER

 

'I'he defendant, Latonya Stephens, having been sentenced in the above case to the custody of the Bureau of Prisons
and having been granted leave by the Court to report to the designated facility, IS HEREBY ORDERED to surrender to
the Bureau of Prisons by reporting to the WEST TENNESSEE DETENTION FACILITY, 6299 Finde Naii'eh, Jr.
Drive, Mason, TN 38049 by 2:00 p.m. on FRIDAY, SEPTEMBER 30, 2005].

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall report immediately to
the Office of the Clerk, Federal Off`ice Building, 167 N. Main Street, Roorn 242, Memphis, Tennessee 38103 to
acknowledge by signature receipt of a copy of this Order and that the defendant will report as ordered to the facility named

above.

ENTERED this the L?O day of Augusr, 2005.

cain wit

PHIPPS McCALLA
OITED STATES DISTRICT JUDGE

 

 

l. 'I`he defendant was designated by the Bureau of Prisons to report to the West Tennessee Detentiorl Facility on Wednesday, August 31, 2005.
However, there is currently set on Friday, September 2, 2005 at 10:00 AM, a hearing on the defendant’s Motion For Clarif'ication or
Resentencing which could affect the defendant’s sentence Therefore, the Court is delaying the defendant`s reporting date for one month.

Tbis document entered on the docket sheet |n compliance
With Hule 55 end/or 32(b) FRCrP on

Case 2:04-cr-20424-.]PI\/| Document 86 Filed 08/30/05 Page 2 of 3 Page|D 119

ACKNOWLEDGMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

   

UN11EDSTESATD1$TR1CT COURT - WESERT DISTR1CT TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 86 in
case 2:04-CR-20424 Was distributed by faX, mail, or direct printing on
August 31, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

